89 F.3d 833
    NOTICE: Sixth Circuit Rule 24(c) states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Sixth Circuit.Donato GIORGIONE, Plaintiff-Appellant,v.The JOSEPH &amp; FEISS COMPANY, Defendant-Appellee.
    No. 95-3601.
    United States Court of Appeals, Sixth Circuit.
    July 1, 1996.
    
      Before:  WELLFORD, NORRIS, and DAUGHTREY, Circuit Judges.
      MEMORANDUM OPINION
      PER CURIAM.
    
    
      1
      Plaintiff, Donato Giorgione, appeals from an order of the district court granting summary judgment to defendant, The Joseph &amp; Feiss Company, in his lawsuit based upon a claim of age discrimination in employment.
    
    
      2
      Having had the benefit of oral argument, and having carefully considered the record on appeal and the briefs of the parties, we are not persuaded that the district court erred in granting summary judgment to defendant.
    
    
      3
      Because the reasoning that supports judgment for defendant has been articulated by the district court, the issuance of a detailed written opinion by this court would be duplicative and serve no useful purpose.   Accordingly, the judgment of the district court is affirmed upon the reasoning employed by that court in its Memorandum of Opinion filed on April 17, 1995.
    
    